   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 1 of 15 PageID #:76



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ILLINOIS
                       EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )     No. 18-cr-664
      v.                                    )
                                            )     Honorable Virginia Kendall
MICHAEL THOMPKINS                           )
                                            )

DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO THE
           MOTION TO SUPPRESS EVIDENCE

     MICHAEL THOMPKINS, by the Federal Defender Program and its

attorney, AMANDA G. PENABAD, respectfully submits this reply to the

government’s response to the motion to suppress and asks that the Court enter

an order precluding the government from introducing into evidence a pistol

seized from Mr. Thompkins’ vehicle, and further prohibit the admission of any

statements made by Mr. Thompkins following his seizure and arrest on April

29, 2018.

                              INTRODUCTION

     The government’s response fails to carry their burden to prove that the

seizure here was reasonable. United States v. Matlock, 415 U.S. 164, 94 S.Ct.

988, 39 L.Ed.2d 242 (1974). Their arguments fail for two primary reasons:

First, the initial stop was objectively unreasonable given the information

known to the officer at the time. Second, the officer extended the traffic stop

here without reasonable suspicion. For these reasons, this Court should grant


                                        1
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 2 of 15 PageID #:77



the motion to suppress or order an evidentiary hearing to clarify the material

disputes of fact at issue in this case.

                                   ARGUMENT

   I.      The initial seizure was unreasonable because Mr. Thompkins
           was not “parked” when Officer Farias decided to execute the
           traffic stop.

        In defense of the initial traffic stop, the government argues two principal

points. First, that Officer Farias had reasonable suspicion of three traffic code

violations. And second, that Officer Farias’s decision to pull over Mr.

Thompkins was based upon a reasonable mistake of fact. An evidentiary

hearing will make clear that each of these arguments is misplaced.

           a. Officer Farias knew only of the alleged parking-related violations
              at the time he pulled over Mr. Thompkins.

        The government contends that Officer Farias suspected Mr. Thompkins

of violating three separate provisions of the Chicago Municipal Code. (Gov.

Opp. Br. at 2.) Consequently, even if two of these three hunches proved

unreasonable, the officer’s actions were justified. Even just one traffic

violation, standing alone, would be enough to support an investigatory stop.

(Gov. Opp. Br. at 4-5.) This argument misapprehends the law and the facts for

two reasons.




                                          2
       Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 3 of 15 PageID #:78



          First, there is no evidence that Officer Farias actually executed the stop

for any reason other than the two alleged parking-related violations.1 These

two parking-related infractions cannot support the stop because Mr.

Thompkins was not parked at all, and any mistake of fact or law to the contrary

is unreasonable. The dashcam video appended to Defendant’s Motion to

Suppress (hereinafter, “Motion”) plainly contradicts the officers’ account. See

Dkt. 24 at Exh 2.

          Second, Officer Farias only noticed the alleged obstruction-of-view

infraction2 after pulling over Mr. Thompkins. Because officers cannot

resuscitate an unreasonable stop post-mortem, this infraction cannot save the

seizure here.

          To be sure, the government notes this violation as a justification for

stopping Mr. Thompkins. But the video evidence in this case contradicts the

government’s claim. According to the police report, Officer Farias allegedly did

not see the air freshener until the police vehicle had turned around in the street

and positioned itself behind Mr. Thompkins’ car. See Motion at Exh 1. The

testimony and evidence presented at the suppression hearing will show that it

was physically impossible for them to have seen any such object until after




1   Municipal City Code § 9-76-090(c) and Municipal City Code § 9-40-200(c).
2   Municipal City Code § 9-40-250(b).


                                                    3
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 4 of 15 PageID #:79



they conducted the traffic stop in question, and had therefore already seized

Mr. Thompkins.

      Indeed, the footage shows that once pulled over, Officer Farias focuses

only on the alleged parking violation, asking why Mr. Thompkins moved to his

current parking spot. See Motion, Exh 3 at 1:06. The officer makes no mention

of any obstruction-of-view issues. Officer Farias first observes the obstruction-

of-view issue much later, only when pressed by Mr. Thompkins as to why he is

extending the traffic stop. Id. at 6:08.

      Standing alone, this delayed verbal observation might not be dispositive

of Officer Farias’s initial reasons for stopping Mr. Thompkins. But there are

other contextual considerations present here. Combined, the totality of the

circumstances render the government’s timeline implausible at best.

      The first important piece of context is that the object “obstructing” Mr.

Thompkins’s view was allegedly an air freshener. The arrest report in this

matter states that the officers saw “a large swinging object hanging from the

rear-view mirror...” Motion, Exh. 1 at 3. If this report is correct, and Officer

Farias did pull over Mr. Thompkins on this basis, there might be a technical

basis for the traffic stop.

      But video evidence contradicts this report’s account. In the body-worn

camera footage, Officer Farias specifically points at a cell phone mounting

device when Mr. Thompkins asks him why the officer is extending the traffic


                                           4
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 5 of 15 PageID #:80



stop. Motion, Exh 3 at 6:02. Officer Farias replies: “Obstruction of view right

there.” Mr. Thompkins then confirms that the officer is referencing the cell-

phone device by physically touching the item and asking: “What, this?” Id. at

6:08. Officer Farias confirms the object he is referencing is the phone mount,

saying “yeah.” Mr. Thompkins replies that “this is for my uber,” further

confirming that the two are discussing the cell phone mount and not any

alleged air freshener. Only in his report, well after the ultimate arrest, did

Officer Farias cite the “large swinging object” as a basis for the initial traffic

stop. See Motion, Exh. 1. It strains credulity to suggest that Officer Farias

executed the traffic stop here based any obstruction of view issue.

      The second relevant contextual consideration here is that Officer Farias

executed this stop near midnight. See id. Both common sense and the available

footage indicate that the scene of the stop was not well-lit. See Motion, Exh 2.

Officer Farias claims to have seen the object while the police vehicle was

executing its U-turn to maneuver behind Mr. Thompkins, see Motion, Exh 1,

meaning the officer would have had to see through the back window of Mr.

Thompkins’ car clear to the front rearview mirror. The dashcam footage shows

both that the officers’ vehicle was at a distance from Mr. Thompkins, making

any such observation impossible, and that the lighting precluded such an

observation. Id.




                                        5
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 6 of 15 PageID #:81



         b. Any mistake of fact here was objectively unreasonable.

      The government claims that even if Mr. Thompkins was not actually

parked when Officer Farias pulled him over, Officer Farias’s belief to the

contrary was a reasonable mistake of fact. The Seventh Circuit has held that

stops executed based on officers’ reasonable mistakes of fact do not violate the

Fourth Amendment. United States v. McDonald, 453 F.3d 958, 962 (2006). So

if Officer Farias was reasonably mistaken, then the stop did not violate the

Constitution.

      First, the video evidence contradicts the government’s assertion that the

officers mistakenly believed Mr. Thompkins’ vehicle to be parked. As the

dashcam video shows, the officers’ vehicle (travelling against traffic) slows to

a halt while Mr. Thompkins car proceeds down the middle of the street towards

the officers, and only begins to drive forward again once Mr. Thompkins’ car

begins to move out of the way to let them pass. See Motion, Exh 2 at 0:08 - 0:14.

There is no question, based on the video, that the officers saw Mr. Thompkins’

car move over to let them through.

      Admittedly, it is possible that Officer Farias failed to recognize that Mr.

Thompkins pulled over because the police cruiser was driving directly into

oncoming traffic. But any such failure was unreasonable. This is clear because

Officer Farias himself induced the action he purportedly mistook as parking.

Officer Farias was driving the wrong way down a one-way street, on a collision


                                        6
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 7 of 15 PageID #:82



course with Mr. Thompkins, who was driving in the correct direction.

Recognizing that Officer Farias was directly in his path, Mr. Thompkins pulled

to the side to allow the officer to safely pass him. A stop executed based on an

unreasonable mistake of fact like this does not satisfy the strictures of the

Constitution. For this reason, Officer Farias’s traffic stop violated the Fourth

Amendment.

   II.      Officer Farias detained Mr. Thompkins without reasonable
            suspicion after completing the traffic-related mission of the
            initial stop.

         Even if Officer Farias had legitimate reasons to execute the initial traffic

stop, those reasons evaporated once he completed his traffic-related mission.

Those reasons could not support the extended traffic stop here for two reasons:

First, because the Supreme Court in Rodriguez rejected any de minimis or

“mere seconds” exception to the Fourth Amendment. And second, because

Officer Farias lacked independent reasonable suspicion to continue to detain

Mr. Thompkins.

            a. Mimms does not authorize a “mere seconds” exception to
               Rodriguez’s prohibition against extended traffic stops.

         The government contends that Officer Farias could order Mr. Thompkins

out of the car because that order would have only “prolonged the lawful stop

by mere seconds.” Gov. Opp. Br. at 9-10. In the government’s view, this




                                           7
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 8 of 15 PageID #:83



prolongation was justified because of the officer-safety interests inherent in

every traffic stop. Gov. Opp. Br. at 8.

      These contentions misstate the clear mandate in Rodriguez v. United

States, 135 S. Ct. 1609 (2015). In that case, the Court expressly overruled an

Eighth Circuit rule allowing “de minimis” extensions of ordinary traffic stops.

Id. at 1614. Absent independent reasonable suspicion, the Fourth Amendment

forbids any prolongation of a stop beyond the time reasonably necessary to

complete the stop’s traffic-related mission. Id. at 1613 (“We hold that a police

stop exceeding the time needed to handle the matter for which the stop was

made violates the Constitution's shield against unreasonable seizures.”).

Whether such an extension is “mere seconds” or any other length of time is

irrelevant.

      The government seems to argue that the extension here was justified

under Pennsylvania v. Mimms, 434 U.S. 106 (1977). Gov. Opp. Br. at 7-8. To

be sure, it is true that Mimms allows officers to request drivers to step out of

their cars in most circumstances. But Mimms only allows such a request in the

course of a detention already justified by reasonable suspicion. Here, Officer

Farias only requested that Mr. Thompkins exit the vehicle after completing the

traffic stop. In this context, the order to exit the vehicle violated the Fourth

Amendment because the order prolonged the already-completed traffic stop.




                                          8
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 9 of 15 PageID #:84



      We know this order was unlawful because the Rodriguez Court was

presented with similar facts. There, an officer ordered Mr. Rodriguez to exit

the vehicle after attending to the traffic-related concerns of the stop.

Rodriguez, 135 S. Ct. at 1613 (“[The officer] instructed Rodriguez to turn off

the ignition, exit the vehicle, and stand in front of the patrol car . . . .”). It is

true that the officer would have had every right to order Mr. Rodriguez out of

the car during the traffic stop. But that is not what the officer did.

      Just so here. Like Mr. Rodriguez, Mr. Thompkins was ordered out of his

vehicle after the traffic stop should have ended. And like in Rodriguez, we have

evidence from the officer’s own mouth conceding that the traffic-related

concerns were over. Compare Rodriguez, 135 S. Ct. at 1613 (noting that the

officer testified he had “got all the reason[s] for the stop out of the way”) with

Farias Body Camera, attached as Exh. 3 at 5:24 (“I’m not going to give you

tickets or anything like that.”).

      The government additionally cites United States v. Rushin, No. 16 CR

288, 2017 WL 4944820, at *3 (N.D. Il. Nov. 1, 2017) to support the view that

the Constitution permits “steps taken in furtherance of officer safety that

minimally prolong an otherwise lawful seizure.” Gov. Opp. Br. at 8. Standing

alone, that observation might seem to cut against Mr. Thompkins.

      But, when read in the proper context, Rushin fails to support the

government’s position. The Rushin court was presented with facts distinct


                                         9
   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 10 of 15 PageID #:85



from those in this case. There, the officer who executed the initial traffic stop

called a K-9 unit to sniff Rushin’s car while the traffic-related mission was

ongoing. Specifically, the officer “asked Rushin to step out of the [car] so he

could explain the [traffic] warning to Rushin and obtain Rushin’s signature.”

Id. Such a request is permissible under Rodriguez because the officer was in

the process of issuing a formal traffic citation, which required Mr. Rushin’s

signature.

      That is not what happened here. We know this because Officer Farias

himself told Mr. Thompkins that he was “not going to give [Mr. Thompkins]

tickets or anything like that.” See Farias Body Camera, attached as Exh. 3 at

5:24. At that point, the traffic-related mission of the stop was over.

Consequently, Officer Farias needed independent reasonable suspicion of a

separate crime to continue to detain Mr. Thompkins. See Rodriguez, 135 S. Ct.

at 1615 (“An officer . . . may conduct certain unrelated checks during an

otherwise lawful traffic stop. But . . . he may not do so in a way that prolongs

the stop, absent the reasonable suspicion ordinarily demanded to justify

detaining an individual.”). To hold otherwise based on some sort of “mere

seconds” exception would revive the de minimis rule squarely rejected by the

Supreme Court in Rodriguez.




                                       10
   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 11 of 15 PageID #:86



         b. The government has not met its burden to prove that the extension
            of the stop here was supported by reasonable, articulable, and
            particularized suspicion of a crime.

      For this reason, the government must prove that Officer Farias had

independent reasonable suspicion of a crime in order to extend the stop. United

States v. Basinski, 226 F.3d 829, 833 (7th Cir. 2000) (noting that the

government bears the burden of proving the legality of a warrantless seizure).

To meet the reasonable suspicion requirement, an officer must have “a

particularized and objective basis” for suspecting the persons detained of

breaking the law. Heien v. North Carolina, ––– U.S. ––––, 135 S.Ct. 530, 536,

190 L.Ed.2d 475 (2014). The factors cited in the government’s response fail to

carry this burden.

      The first factor cited by the government is Mr. Thompkins’s criminal

record. Gov. Opp. Br. at 10. But federal courts across the country have held

that an individual’s prior convictions, standing alone, can never create

reasonable suspicion. See, e.g., United States v. Davis, 94 F.3d 1465, 1469 (10th

Cir. 1996) (finding that “a prior criminal record is not, standing alone,

sufficient to create reasonable suspicion.”); United States v. Fields, 458 F.2d

1194, 1198 (3d Cir. 1972); United States v. Monteiro, 447 F.3d 39, 47 (1st Cir.

2006) (stating that knowledge of an “individual’s criminal history” cannot

substitute for “objective indications of ongoing criminality”); United States v.

Sprinkle, 106 F.3d 613, 617-18 (4th Cir. 1997) (finding that a suspect’s prior


                                        11
    Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 12 of 15 PageID #:87



crimes cannot create reasonable suspicion, even coupled with presence in a

high-crime area); and United States v. Castle, 825 F.3d 625, 636 (D.C. Cir.

2016) (observing that “officers’ prior experience with” the defendant and his

presence in a high-crime neighborhood could not provide the “necessary,

concrete indicia” that the defendant was engaged in wrongdoing).

       The second factor cited by the government is the presence of a “police

baton” 3 in Mr. Thompkins’s car. Gov. Opp. Br. at 10. The government contends

that this object, coupled with Mr. Thompkins’s past convictions, gave Officer

Farias reasonable suspicion of ongoing criminal wrongdoing.

       But the government has provided no evidence that the “police baton”

here was itself illegal to possess. And the government has likewise failed to

introduce any evidence connecting the possession of such an object to crime in

any way. Without anything tending to establish a connection of this kind, the

“police baton” here cannot give rise to the “necessary, concrete indicia” that Mr.

Thompkins was engaged in wrongdoing. Castle, 825 F.3d at 636.

       Even assuming for the sake of argument that the object was somehow

probative of wrongdoing, there is nothing to suggest it was probative of the

specific wrongdoing suspected here. The government asks this Court to

conclude, without any kind of evidentiary hearing, that the presence of a baton


3It bears noting that no party, including Officer Farias, has ever referred to the object in Mr.
Thompkins’s car as a “police” baton. The inventory report produced describes the object as a
“black wood baton.”


                                              12
   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 13 of 15 PageID #:88



is somehow associated with illegal firearm possession. The Fourth Amendment

demands more than bare assertions of this kind.

      Finally, Officer Farias makes clear his supposed basis for asking Mr.

Thompkins to step out of the car, and it does not include mention of the alleged

baton. The officer first tells Mr. Thompkins that he wants him to exit the car

because he “want[s] to make sure you don’t have any guns in the car.” Motion,

Exh 3 at 5:27. When Mr. Thompkins asks why he should permit the officers to

search his car, id. at 5:32, Officer Farias responds that “based on your history

of weapon usage, I need you to step out.” Id. at 5:42. The officer never mentions

the baton or even acknowledges his partner’s observation that a baton-like

object is in the car.

      The government has failed to carry its burden to establish reasonable

suspicion to support the extension of the stop. The stop therefore runs afoul of

the Supreme Court’s directive in Rodriguez, and the fruits of this illegal stop

should be suppressed.




                                       13
   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 14 of 15 PageID #:89



                                 CONCLUSION

      For these reasons, we request that this Court either GRANT the motion

to suppress or conduct an evidentiary hearing to resolve the contested factual

issues in this case.

                                       Respectfully submitted,

                                       FEDERAL DEFENDER PROGRAM
                                       John F. Murphy
                                       Executive Director

                                By:    s/ Amanda G. Penabad
                                       Amanda G. Penabad

AMANDA G. PENABAD
FEDERAL DEFENDER PROGRAM
55 E. Monroe Street, Suite 2800
Chicago, Illinois 60603
(312) 621-8340

Written with the assistance of Theodore J. Torres
Arthur Liman Public Interest Fellow




                                         14
   Case: 1:18-cr-00664 Document #: 27 Filed: 02/04/19 Page 15 of 15 PageID #:90



                          CERTIFICATE OF SERVICE

      The undersigned, Amanda G. Penabad, an attorney with the Federal Defender
Program hereby certifies that in accordance with FED.R.CIV.P5, LR5.5, and the
General Order on Electronic Case Filing (ECF), the following document:

 DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION TO THE
            MOTION TO SUPPRESS EVIDENCE

was served pursuant to the district court’s ECF system as to ECF filings, if any, and
were sent by first-class mail/hand delivery on February 4, 2019, to counsel/parties
that are non-ECF filers:


                                By:     s/ Amanda G. Penabad
                                       Amanda G. Penabad
                                       FEDERAL DEFENDER PROGRAM
                                       55 E. Monroe St., Suite 2800
                                       Chicago, Illinois 60603
                                       (312) 621-8340




                                         15
